Case 23-12065-MBK               Doc 46 Filed 12/30/23 Entered 12/31/23 00:11:17                                      Desc Imaged
                                     Certificate of Notice Page 1 of 3

                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW JERSEY


   In Re:                                                        Case No.:             23-12065
                                                                                  __________________
   Ioana Nedelcu                                                 Chapter:                  7
                                                                                  __________________
                                                                 Judge:                  MBK
                                                                                  __________________


                                  NOTICE OF PROPOSED ABANDONMENT

                Karen E. Bezner
   __________________________________,                  Trustee
                                                ____________________     in this case proposes to abandon
   property of the estate described below as being of inconsequential value. If you object to the
   abandonment, you must file a written objection with the Clerk of the United States Bankruptcy Court and
   serve it on the party named below not later than 7 days before the hearing date.

       Address of the Clerk: Jeanne A. Naughton, Clerk
                             United States Bankruptcy Court
                             United States Courthouse
                             402 East State Street
                             Trenton, New Jersey 08608
                                                                                         Michael B. Kaplan, C.U.S.B.J.
   If an objection is filed, a hearing will be held before the Honorable _______________________________
           January   25,  2024
   on ______________________ at ________a.m. 10:00           at the United States Bankruptcy Court, Courtroom no.
        8
   ________.   (Hearing date must be at least 28 days from the date of this notice). If no objection is filed, the
   abandonment shall take effect on entry by the clerk of a Certification of No Objection.
       Description and value of property: Trustee abandons residential property in Potlogi Commune,
                                           Dambovita County, Romania, purchased by debtor at private
                                           sale in November, 2008 for $40,000.00
   


       Liens on property:                 Costs of sale estimated at 20%, or $8,000.00. Real estate
                                           taxes and other charges remain unpaid since 2008, and likely
                                           exceed the value of the property. Costs of sale exceed the
                                           value of the property to the estate. The property is
                                           burdensome to the estate.


       Amount of equity claimed as exempt: $0.00



   Objections must be served on, and requests for additional information directed to:

   Name:             Karen E. Bezner, Trustee /s/ Karen E. Bezner
                     ________________________________________________________________________
   Address:          567 Park Avenue, Suite 103, Scotch Plains, New Jersey 07076
                     ________________________________________________________________________
                  (908) 322-8484
   Telephone No.: ________________________________________________________________________

                                                                                                              rev.8/1/15
      Case 23-12065-MBK                      Doc 46 Filed 12/30/23 Entered 12/31/23 00:11:17                                             Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 23-12065-MBK
Ioana Nedelcu                                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 28, 2023                                               Form ID: pdf905                                                           Total Noticed: 15
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 30, 2023:
Recip ID                   Recipient Name and Address
db                     +   Ioana Nedelcu, P.O. Box 207, Trenton, NJ 08602-0207
519861355              +   Bart W. Lombardo Esq., 100 Eagle Rock Ave, Suite 105, East Hanover, NJ 07936-3149
519861356              +   Camelot At Carteret Parcel, 433 River Road, Highland Park, NJ 08904-1939
519964223              +   Cornel Nedelcu, P.O. Box 644, Carteret, NJ 07008-0644
519869250              +   Cornell Nedelcu, P.O. Box 644, Carteret, NJ 07008-0644
519861358              +   Derek D. Reed, Esq., 60 Park Place, Suite 1016, Newark, NJ 07102-5504
519869263              +   Victor Goldberg, 40 Essex Road, Maplewood, NJ 07040-2338

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Dec 28 2023 20:30:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Dec 28 2023 20:30:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
cr                     ^ MEBN
                                                                                        Dec 28 2023 20:29:08      BSI Financial Services as servicer for HMC
                                                                                                                  Assets,, c/o Friedman Vartolo LLP, 1325 Franklin
                                                                                                                  Ave, Suite 160, Garden City, NY 11530-1631
519869248              + Email/Text: bankruptcy@bsifinancial.com
                                                                                        Dec 28 2023 20:29:00      BSI Financial Services, 314 S. Franklin Street,
                                                                                                                  Titusville, PA 16354-2146
520006268                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Dec 28 2023 20:40:29      CACH, LLC, Resurgent Capital Services, PO Box
                                                                                                                  10587, Greenville, SC 29603-0587
519967692                  Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Dec 28 2023 20:40:27      CACH, LLC c/o, Resurgent Capital Services, PO
                                                                                                                  Box 10587, Greenville, SC 29603-0587
519861357              + Email/Text: convergent@ebn.phinsolutions.com
                                                                                        Dec 28 2023 20:30:00      Convergent Outsourcing, 800 SW 39th Street,
                                                                                                                  Renton, WA 98057-4927
520011177              + Email/Text: bankruptcy@bsifinancial.com
                                                                                        Dec 28 2023 20:29:00      HMC Assets, LLC solely in its capacity, c/o BSI
                                                                                                                  Financial Services, 1425 Greenway Dr. Suite 400,
                                                                                                                  Irving, TX 75038-2480

TOTAL: 8


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
cr               *+            Victor Goldberg, 40 Essex Rd, Maplewood, NJ 07040-2338

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address
       Case 23-12065-MBK                  Doc 46 Filed 12/30/23 Entered 12/31/23 00:11:17                                           Desc Imaged
                                               Certificate of Notice Page 3 of 3
District/off: 0312-3                                              User: admin                                                               Page 2 of 2
Date Rcvd: Dec 28, 2023                                           Form ID: pdf905                                                         Total Noticed: 15

                                                  NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 30, 2023                                       Signature:            /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 27, 2023 at the address(es) listed
below:
Name                            Email Address
George E Veitengruber, III
                                on behalf of Debtor Ioana Nedelcu bankruptcy@veitengruberlaw.com knapolitano15@gmail.com

Jason Brett Schwartz
                                on behalf of Creditor BSI Financial Services as servicer for HMC Assets LLC solely in its capacity as separate trustee of CAM XI
                                Trust bkecf@friedmanvartolo.com, bankruptcy@friedmanvartolo.com

Karen E. Bezner
                                on behalf of Plaintiff Karen E. Bezner Kbez@bellatlantic.net NJ61@ecfcbis.com;KarenEBeznerEsq@aol.com

Karen E. Bezner
                                Kbez@bellatlantic.net NJ61@ecfcbis.com;KarenEBeznerEsq@aol.com

Karen E. Bezner
                                on behalf of Trustee Karen E. Bezner Kbez@bellatlantic.net NJ61@ecfcbis.com;KarenEBeznerEsq@aol.com

U.S. Trustee
                                USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 6
